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                       EXHIBIT C
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  RE: Schober v. Thompson - No Expert Witnesses to Designate
  From     Carl Hjort <chjort@rwolaw.com>
  To       ethanmoralaw@pm.me

  Date     Monday, April 10th, 2023 at 4:47 PM



  Ethan,



  I have moved my practice from Cantafio & Song to Robinson Waters & O’Dorisio. I remain counsel for the
  Thompson’s in this matter, so please update my contact information to reflect my new email address. In response to
  the issues we discussed in our last telephone call, I have discussed those issues with my clients and here are our
  responses. First, with regard to Henry Burchill, my clients do not intend to claim that Henry Burchill was the person
  who orchestrated the alleged theft of Mr. Schober’s bitcoins. However, my clients do intend to point out that Henry
  Burchill is also a resident of Southampton, that to the extent that any location of the persons allegedly responsible for
  the theft of Mr. Schober’s bitcoins can be only be resolved to Southampton, then it is possible that Mr. Burchill, a
  known computer hacker, may be the actual person responsible in this case and not Benedict Thompson.



  Second, with respect to the IP addresses and aliases, as I previously stated, my clients have not used the alias thp2pk
  or JamesandJohn. We do not have any amendments to make to the listing of aliases or IP addresses that were in our
  previous responses.




  Third, the Reddit documents produced as THOMPSON 0000012-13 were obtained from the website
  cames.unddit.com




  I think that addresses everything we discussed, but please let me know if there are any further issues we need to
  discuss.




  Thanks,



  Carl




  Carl A. Hjort, III, Esq.
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  From: Ethan Mora <ethanmoralaw@pm.me>
  Sent: Saturday, February 25, 2023 5:45 PM
  To: Carl Hjort <chjort@fncslaw.com>
  Subject: Schober v. Thompson - No Expert Witnesses to Designate



  Carl, I've decided not to designate any expert witnesses (neither retained nor unretained).



  The issues seem clear cut: statute of limitations, and personal jurisdiction. So, provided we can resolve the discovery
  issues we've discussed, expert testimony does not seem necessary -- in my opinion, the evidence is clear and not
  reasonably disputed (or not disputed at all) regarding: Plaintiff's ownership of the stolen Bitcoins; the IP addresses
  Benedict used; Benedict's use of the Malware; the transfer of Plaintiff's Bitcoins to Benedict's wallet; Defendants'
  attempts to launder and obfuscate the origins of the stolen Bitcoins using Monero and various exchanges and other
  cryptocurrencies; and Defendants' refusal to return Plaintiff's Bitcoins to Plaintiff after his request.



  I believe the only facts your clients dispute relate to when Plaintiff discovered the basis for his suit; whether
  Defendants concealed the existence of Plaintiff's causes of action; and whether Defendants' conduct (namely, the
  alleged theft of Plaintiff's property) and the harms Plaintiff experienced occurred in Colorado. However, if this is not
  the case, I may, on that basis, seek additional time to designate expert witnesses and/or reopen fact discovery.
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  Please let me know when you've spoken with your clients regarding their discovery responses. I'd like to avoid
  discovery motions, if possible.




  Thank you,




  Ethan




  The Law Office of Ethan Mora



  Ethan Mora, Esq.

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  ____________________



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